      Case 3:19-cv-00047-RGE-HCA Document 31 Filed 12/13/19 Page 1 of 6



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                               DAVENPORT DIVISION


 JOHN DOE,                                                  CASE NO. 3-19-CV-00047

   Plaintiff,

 v.

 UNIVERSITY OF IOWA; BOARD OF                         DEFENDANTS’ JOINT MOTION TO
 REGENTS, STATE OF IOWA, TIFFINI                      STRIKE AND MOTION TO DISMISS
 STEVENSON EARL, individually and in                 PLAINTIFF’S AMENDED COMPLAINT
 official capacity, IRIS FROST, individually
 and in official capacity, LYN REDINGTON,
 individually and in official capacity, ANGIE
 REAMS in official capacity, CONSTANCE
 SCHRIVER CERVANTES, individually and
 in official capacity, JOHN KELLER,
 individually and in official capacity,
 MONIQUE DICARLO, individually and in
 individual capacity, MARK BRAUN,
 individually and in official capacity,

   Defendants.


        COME NOW Defendants the University of Iowa (“UI” or “University”), the Board of

Regents, State of Iowa (“Board”), Tiffini Stevenson Earl, Iris Frost, Lyn Redington, Angie Reams,

Constance Schriver Cervantes, John Keller, Monique DiCarlo, and Mark Braun, and submit their

joint motions to strike and to dismiss Plaintiff John Doe’s Amended Complaint, pursuant to

Federal Rules of Civil Procedure 12(f) and 12(b)(6) respectively. In support of their joint motions,

Defendants state the following:




                                                 1
       Case 3:19-cv-00047-RGE-HCA Document 31 Filed 12/13/19 Page 2 of 6



         1. Plaintiff filed his Amended Complaint on November 27, 2019, 1 alleging violations of

42 U.S.C. § 1983 for denial of his Fourteenth Amendment Due Process rights against all individual

Defendants (Count I); violations of Title IX of the Education Amendments of 1972 against the

University and Board (Counts II-V); violations of 42 U.S.C. § 1981 and 42 U.S.C. § 2000d against

the University, the Board “and/or individual Defendants” 2 (Count VI); violation of the Equal

Protection Clause of the Fourteenth Amendment against all individual Defendants (Count VII);

violations of 42 U.S.C. § 1983 for denial of his First Amendment and Fourteenth Amendment

rights, as well as violation of Article I, § 7 of the Constitution of the State of Iowa against

Defendants Stevenson Earl and Frost (Count VIII); Breach of Contract under Iowa law against the

University and the Board (Count IX); and a claim for Declaratory Judgment for Violation of the

United States and Iowa Constitutions against the individual Defendants for injunctive relief

“and/or” the University and the Board (Count X). 3

         2. At the outset, Plaintiff’s Amended Complaint should be stricken for failure to comply

with Federal Rule of Civil Procedure 8(a). Specifically, Rule 8(a) requires that a “pleading that

states a claim for relief must contain . . . (2) a short and plain statement of the claim showing that

the pleader is entitled to relief.” This is bolstered by Rule 8(d)(1), which states, “Each allegation

must be simple, concise, and direct.” 4




1
  Plaintiff filed his original Complaint on June 21, 2019. Defendants subsequently filed a Joint Motion to Strike and
Motion to Dismiss on November 8, 2019. In response to Plaintiff’s decision to file an Amended Complaint, Defendants
withdraw their previous Motion to Dismiss.
2
  Count VI should be dismissed for failure to clearly indicate which individuals or institutions the claim is asserted
against.
3
  Again, Count IX should be dismissed for failure to indicate which Defendants are being sued.
4
  Plaintiff’s Amended Complaint is littered with conclusory, unnecessary, and improper statements which do not
advance his legal arguments. See e.g., Am. Compl. p. 115, ¶ 133 (“UI and the Board’s actions show they would rather
tackle a lawsuit from a male, where the evidence is clear that UI discriminated against him, than tackle another costly
lawsuit from a female.”

                                                          2
        Case 3:19-cv-00047-RGE-HCA Document 31 Filed 12/13/19 Page 3 of 6



         3. Plaintiff’s Amended Complaint is 129-pages, including 92 pages of factual

allegations. 5

         4. Plaintiff’s non-compliance with Rule 8 is worsened by the fact that at least two of his

claims – Counts VI and X – do not clearly state which Defendants they are asserted against. See

supra fn. 1-2.

         5. Further, Plaintiff’s Amended Complaint contains dozens of references to and analysis

of the Department of Education’s “Dear Colleague” letters. See, e.g., Am. Compl. ¶¶ 33-36, 70,

314, 315, 420, 596-599. Courts have uniformly held that students cannot maintain claims for

money damages based on non-compliance with Title IX sub-regulatory guidance. See, e.g., Roe v.

St. Louis Univ., 746 F.3d 874, 883-83 (8th Cir. 2014) (rejecting claim that institution was

deliberately indifferent because it failed to involve its Title IX coordinator as required by

regulation); Moore v. Regents of the Univ. of Cal., 2016 WL 2961984, at *5 (N.D. Cal. 2016)

(“There is no private right of action to recover damages under Title IX for violations of [the

Department of Education’s] administrative requirements, much less the provisions of the DCL”).

Any in-depth discussion of these letters is inappropriate and irrelevant and should be stricken from

Plaintiff’s Amended Complaint.

         6. Simply put, Plaintiff’s Amended Complaint is not “simple, concise, and direct” in any

meaningful way, and should be stricken pursuant to Rule 12(f). 6


5
  Defendants also note that Plaintiff’s initial Complaint was 199-pages, including 172 pages of factual allegations, for
which Defendants’ filed their original motion to strike.
6
  See Favors v. Louvey, 2019 WL 3043958 (D. Minn. June 18, 2019) (dismissing plaintiff’s amended complaint, which
ran 105-pages, after plaintiff was given an opportunity to amend his original 118-page complaint to conform with
Rule 8(a)); Verrees v. Davis, 2018 WL 1919824 (E.D. Cal. Apr. 24, 2018) (dismissing plaintiff’s 92-page amended
complaint for failing to comply with Rule 8(a)); Achagzai v. Broadcasting Bd. of Governors, 109 F.Supp.3d 67, 71
(D.D.C. 2015) (striking a 226-page complaint and granting plaintiff leave to “excise redundant material and file a
streamlined amended complaint”); Regenicin, Inc. v. Lonza Walkersville, Inc., 997 F.Supp.2d 1304, 1310 (N.D. Ga.
2014) (dismissing a “shotgun complaint,” which “contains several counts, each one incorporating by reference the
allegations of its predecessors, leading to a situation where most of the counts (i.e., all but the first) contain irrelevant
factual allegations and legal conclusion . . . [and] also fail to specify which defendant is responsible for each act

                                                             3
       Case 3:19-cv-00047-RGE-HCA Document 31 Filed 12/13/19 Page 4 of 6



         7. In addition to the issues with the form of Plaintiff’s Amended Complaint, several of

Plaintiff’s claims fail as a matter of law and should be dismissed.

         8. Counts I and VIII fail on various grounds and should be dismissed with prejudice. First,

Plaintiff’s § 1983 claims fail as stated against several of the individual Defendants in their

individual capacities because Plaintiff has not asserted any direct link between each of the

Defendants and the alleged violation of his constitutional rights, and because the individual

Defendants are shielded by the doctrine of qualified immunity.

         9. Count III fails because Plaintiff has not asserted a plausible claim that the University

selectively enforced its policies.

         10. Count IV fails because Plaintiff has not asserted a plausible claim that he faced a hostile

educational environment based upon his gender.

         11. Count V fails because Plaintiff has not asserted a plausible claim that the University

was deliberately indifferent to known acts of discrimination against him.

         12. Count VIII fails because Plaintiff has not asserted facts against the individual

Defendants sufficient to support a cognizable 42 U.S.C. § 1983 claim. Plaintiff’s First Amendment

claims further fail because his harassing speech was not protected by the First Amendment as a

matter of law.

         13. Plaintiff’s claim under Article I, §7 of the Constitution of the State of Iowa is barred

by the Eleventh Amendment to the United States Constitution and should be dismissed.




alleged”); Prezzi v. Berzak, 57 F.R.D. 149, 157 (S.D.NY. 1972) (“The Federal rules of Civil Procedure envision a
system of simplified pleadings that given notice of the general claim asserted, allow for the preparation of a basic
defense, narrow the issues to be litigated, and provide a means for quick disposition of sham claims . . . Complaints
which ramble, which needlessly speculate, accuse, and condemn, and which contain circuitous diatribes far removed
from the heart of the claim do not comport with these goals and this system; such complaints must be dismissed.”).

                                                         4
      Case 3:19-cv-00047-RGE-HCA Document 31 Filed 12/13/19 Page 5 of 6



       14. Count IX fails because Plaintiff’s state law claim for breach of contract claim is barred

by the Eleventh Amendment to the United States Constitution. Even if Plaintiff’s claim was not

barred by the Eleventh Amendment, it must be dismissed because Plaintiff has failed to assert a

cognizable breach of contract claim.

       15. Additionally, the Court should dismiss Defendants Stevenson Earl, Frost, Redington,

Keller, Braun, and Schriver Cervantes in their individual capacities, as they are entitled to absolute

immunity under the doctrines of quasi-judicial immunity and quasi-prosecutorial immunity.

       16. Defendants have set forth their arguments in detail in the attached Brief in Support of

Their Motion to Dismiss.

       WHEREFORE, Defendants pray the Court strike Plaintiff’s Amended Complaint in its

entirety for failing to comply with Rule 8(a) and dismiss those portions discussed above and in the

Brief attached to this Motion for failing to state a claim upon which relief can be granted.

                                                          Respectfully Submitted,

                                                          THOMAS J. MILLER
                                                          Attorney General of Iowa

                                                          /s/ Christopher J. Deist
                                                          CHRISTOPHER J. DEIST

                                                          /s/ Kayla Burkhiser Reynolds
                                                          KAYLA BURKHISER REYNOLDS
                                                          Assistant Attorneys General
                                                          Hoover Building, Second Floor
                                                          1305 East Walnut Street
                                                          Des Moines, Iowa 50319
                                                          PHONE: (515) 281-7240
                                                          FAX: (515) 281-7219
                                                          E-MAIL: christopher.deist@ag.iowa.gov
                                                                 kayla.burkhiser@ag.iowa.gov
                                                          ATTORNEYS FOR DEFENDANTS


Original filed electronically.

                                                  5
      Case 3:19-cv-00047-RGE-HCA Document 31 Filed 12/13/19 Page 6 of 6



Copy electronically served on all parties of record.



                                                                     PROOF OF SERVICE

                                                  The undersigned certifies that the foregoing instrument was served upon
                                                 each of the persons identified as receiving a copy by delivery in the
                                                 following manner on December 11,2019:

                                                          U.S. Mail                        FAX
                                                          Hand Delivery                    Overnight Courier
                                                          Federal Express                  Other
                                                          CM/ECF

                                                 Signature: /s/AUDRA DRISH




                                                6
